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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

THE NEW GEORGIA PROJECT;
BLACK VOTERS MATTER FUND;
and RISE, INC.,
                    Plaintiffs,
                                               No. 1:21-cv-1229-JPB
      v.

BRAD RAFFENSPERGER, in his of-
ficial capacity as the Georgia Secre-
tary of State; REBECCA SULLIVAN,
in her official capacity as the Vice
Chair of the Georgia State Election
Board; DAVID WORLEY, in his offi-
cial capacity as a member of the
Georgia State Election Board; MAT-
THEW MASHBURN, in his official
capacity as a member of the Georgia
State Election Board; and ANH LE,
in her official capacity as a member of
the Georgia State Election Board,
                             Defendants,

REPUBLICAN NATIONAL COM-
MITTEE; NATIONAL REPUBLICAN
SENATORIAL COMMITTEE; NA-
TIONAL REPUBLICAN CONGRES-
SIONAL COMMITTEE; and GEOR-
GIA REPUBLICAN PARTY,
     Proposed Intervenor-Defendants.

 NATIONAL REPUBLICAN CONGRESSIONAL COMMITTEE’S MO-
TION TO INTERVENE AND JOINDER OF MEMORANDUM OF LAW
        (DOC. 6-1) AND PROPOSED ANSWER (DOC. 6-2)




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       The National Republican Congressional Committee (“NRCC”) respect-
fully moves to intervene as a defendant in this case. Last week, three Repub-

lican Party entities filed their intervention papers. See Doc. 6. The NRCC,

another Republican Party entity, is a national political committee that works
to elect Republicans to the United States House of Representatives. For the

same reasons in the other movants’ Memorandum of Law, the NRCC should

be granted intervention. The NRCC (with the other movants’ consent) joins
their Memorandum of Law (Doc. 6-1) and their Proposed Answer (Doc. 6-2),

and adopts those filings as its own. While Plaintiffs oppose the NRCC’s inter-

vention, they do not oppose the NRCC joining the other movants’ papers. De-
fendants take no position on intervention but do not oppose the NRCC’s join-

der.

       Allowing the NRCC to join the pending filings—and adding it to this

case—will prejudice no one. The NRCC is represented by the same counsel as

the other Republican Party movants. If allowed to intervene, the four Repub-

lican Party movants will file briefs, present arguments, and otherwise litigate
as one unit. Additionally, this case is still in its infancy, as Plaintiffs have not

yet responded to the original motion to intervene. Moreover, all four Republi-

can Party entities will soon move to intervene in the three related cases:
Asian Americans Advancing Justice Atlanta v. Raffensperger, No. 1:21-cv-

1333-JPB (N.D. Ga.); Sixth District of African Methodist Episcopal Church v.

Kemp, No. 1:21-cv-1284-JPB (N.D. Ga.); and Georgia State Conference of the
NAACP v. Raffensperger, No. 1:21-cv-1259-JPB (N.D. Ga.). Since some or all



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of those cases will likely be consolidated with this one, there is no purpose in
excluding the NRCC from this particular case.


      This 9th day of April, 2021.

                                      Respectfully submitted,

                                       /s/ William Bradley Carver, Sr.
                                     John E. Hall, Jr.
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                 Counsel for Proposed Intervenor-Defendants




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           CERTIFICATE OF SERVICE AND CERTIFICATE
             OF COMPLIANCE WITH LOCAL RULE 5.1
      The foregoing was prepared in Century Schoolbook font, 13-point type,

one of the font and point selections approved by the Court in N.D. Ga. L.R.

5.1(C). I hereby certify that I electronically filed the foregoing NATIONAL

REPUBLICAN CONGRESSIONAL COMMITTEE’S MOTION TO IN-

TERVENE AND JOINDER OF MEMORANDUM OF LAW (DOC. 6-1)

AND PROPOSED ANSWER (DOC. 6-2) with the Clerk of Court using

CM/ECF electronic filing system, which will automatically send e-mail notifi-

cation of such filing to the following counsel of record and serve as follows:

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                                         Counsel for Defendants


      This 9th day of April, 2021.


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